                                  Case 18-11659-LSS                  Doc 1        Filed 07/15/18           Page 1 of 37

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ActiveCare, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1365 West Business Park Drive
                                  Orem, UT 84058
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Utah                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.activecare.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-11659-LSS                 Doc 1         Filed 07/15/18              Page 2 of 37
Debtor    ActiveCare, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     4G Biometrics, LLC                                             Relationship            Affiliate
                                                   District   Delaware                     When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                Case 18-11659-LSS                      Doc 1        Filed 07/15/18              Page 3 of 37
Debtor   ActiveCare, Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 18-11659-LSS                   Doc 1        Filed 07/15/18             Page 4 of 37
Debtor    ActiveCare, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       07/15/2018
                                                  MM / DD / YYYY


                             X   /s/ Mark J. Rosenblum                                                    Mark J. Rosenblum
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date    07/15/2018
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Christopher A. Ward
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                      Case 18-11659-LSS                 Doc 1     Filed 07/15/18         Page 5 of 37
Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       ActiveCare, Inc.                                                                             Case No.
                                                                                Debtor(s)                 Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 000-53570 .

2. The following financial data is the latest available information and refers to the debtor's condition on            September 30, 2018          .

 a. Total assets                                                                                     $                     2,623,458.00

 b. Total debts (including debts listed in 2.c., below)                                              $                  41,787,746.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                 $                        0.00                                      0
 secured                  unsecured                    subordinated                 $                        0.00                                      0
 secured                  unsecured                    subordinated                 $                        0.00                                      0
 secured                  unsecured                    subordinated                 $                        0.00                                      0
 secured                  unsecured                    subordinated                 $                        0.00                                      0

 d. Number of shares of preferred stock                                                                         0                                      0

 e. Number of shares common stock                                                                         239,100                                 300
    Comments, if any:


3. Brief description of Debtor's business:
   The business is a real-time health analytics and monitoring company for individuals with diabetes. The company has
   created a "CareCenter" where trained specialists directly engage members while monitoring their condition.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   Cede & Co, Tyumen Holdings LLC, James Dalton, Advance Technology Investors, Bluestone Advisors LLC, and ADP
   Management Corporation




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                   Case 18-11659-LSS                Doc 1        Filed 07/15/18           Page 6 of 37

      Fill in this information to identify the case:

                  ActiveCare, Inc.
      Debtor name __________________________________________________________________

                                                                                 Delaware
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
      Brett Murdoch                         Brett Murdoch
1
      12039 N. Chamberry Ct.                T: 801-735-9808                   Notes               Disputed
                                                                                                                                                        $5,269,260.25
      Highland, UT 84003                    brettmurdoch@gmail.com

      Robert Welgos                         Robert Welgos
2
      9 Ridge Road                          T: 973-625-1928                   Notes                                                                     $238,844.63
      Wharton, NJ 07885                     goose150924@optimum.net

      Hillair Capital Management LLC        Sean M.
3
      345 Lorton Avenue, Suite 303          T: 415-420-6600                    Notes                                                                    $2,593,166.34
      Burlingame, CA 94010                  seanm@hillaircapital.com


4     Alpha Capital Anstalt
      Pradafant 7, LI-9490                  T: 212-586-8224
                                                                               Notes                                                                   $2,301,753.08
      Vaduz, Liechtenstein C4 99999         akluger@lhfin.com


5     JMJ Financial
      501 W. Broadway, Suite 2000           T: 619-508-9916
                                                                              Notes                                                                     $1,963,157.00
      Miami, FL 33139                       jwkbiz@yahoo.com

      Jack Temple                           Jack Temple
6
      2964 Rockwood Drive                   T: 828-758-2218                                                                                             $185,157.65
                                                                               Trade
      Lenoir, NC 28645

      Tanner, LLC                           Scott Robinson
7
      36 S. State Street, Suite 600         T: 801-532-7444                   Trade                                                                     $84,240.94
      Salt Lake City, UT 84111              srobinson@tannerc.com

      Advance Technology Investors           Steven Weidman
8
      154 Rock Hill Road                     T: 646-732-4047
                                                                               Notes                                                                    $554,643.87
      Spring Valley, NY 10977                steven.weidman@mlp.com




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                                   Case 18-11659-LSS             Doc 1      Filed 07/15/18              Page 7 of 37


    Debtor        ActiveCare, Inc.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
      Dillon Hill
9
      200 Business Park Drive, Suite 306   T: 914-219-5733                 Notes                                                                     $1,067,774.37
      Armonk, NY 10504                     bgrossman@dillonhillcapital.com

      Jeff Greene                          Jeff Greene
10
      135 Stanley Farm Road                T: 828-757-0006                 Notes                                                                      $820,614.38
      Kernersville, NC 27284               jeff@krgutility.com

      Brio Capital Master Fund Ltd.        Shaye Hirsch
11
      100 Merrick Road, Suite 401W         T: 516-536-0500                 Notes                                                                      $727,867.17
      Rockville Centre, NY 11570           shaye@briocapital.com

      Gary Gelbfish                        Gary Gelbfish
12
      2502 Avenue I                        T: 917-613-6162                 Notes                                                                      $122,190.38
      Brooklyn, NY 11210                   gary@drgelbfish.com

      Osher Capital Partners LLC           Ari Kluger
13
      5 Sans Berry Lane                    T: 212-586-8224                 Notes                                                                     $623,776.35
      Spring Valley, NY 10977              akluger@lhfin.com

      Lucosky Brookman LLP                 Joseph Lucosky
14
      45 Rockefeller Plaza, Suite 2000     T: 732-395-4402                                                                                            $509,210.75
                                                                           Trade
      New York, NY 10111                   jlucosky@lucbro.com

      SG Ventures (RMR)
15
      13533 South Bridle Gate Lane         T: 801-842-3394
                                           roscoeventures@gmail.com        Notes                                                                      $420,417.27
      Draper, UT 84020

      Robert Floyd                         Robert Floyd
16
      222-B Harper Avenue                  T: 828-758-1959
                                                                           Trade                                                                      $116,072.00
      NW Lenoir, NC 28645                  bobfloydjr@floydgroup.com

      Delcromo, Inc.
17
      PO Box 4924                          T: 707-496-3415
                                                                            Trade                                                                     $102,543.12
      Eureka, OR 95502                     caddydlr@yahoo.com


18
      Scott Jensen
      3178 West Beuhler Circle                                              Trade                                                                     $90,000.00
      Bluffdale, UT 84065

      Marc Nuccitelli                      Marc Nuccitelli
19
      80 Rodeo Drive                       T: 917-225-9430                  Notes                                                                     $152,539.20
      Syosset, NY 11791                    mn@dillonhillcapital.com

      Peter Sherman                        Peter Sherman
20
      4409 Mickleton Road                  T: 980-938-5313
                                                                            Notes                                                                     $152,539.20
      Charlotte, NC 28226                  psherm01@gmail.com




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
ACTIVECARE, INC.,1
                                                           Case No. 18-______ (___)
                 Debtors.
                                                           (Joint Administration Pending)


                              LIST OF EQUITY SECURITY HOLDERS

ACCOUNT                                                                   COMMON                 PERCENT
                                                                          SHARES
CEDE & CO (FAST ACCOUNT)                                                                         20.0%
PO BOX 20, BOWLING GREEN STATION                                          47,927
NEW YORK NY 10004-1408
TYUMEN HOLDINGS LLC                                                                              10.8%
539 BLACKHAWK LN                                                          25,849
ALPINE UT 84004
JAMES DALTON                                                                                     7.2%
PO BOX 3621                                                               17,274
PARK CITY UT 84060
ADVANCE TECHNOLOGY INVESTORS                                                                     5.5%
154 ROCK HILL ROAD                                                        13,157
SPRING VALLEY NY 10977
BLUESTONE ADVISORS LLC                                                                           5.3%
539 BLACKHAWK LN                                                          12,589
ALPINE UT 84004
ADP MANAGEMENT CORPORATION                                                                       5.0%
1401 NORTH 1075 WEST                                                      11,871
SUITE 240
FARMINGTON UT 84025

BRETT MURDOCH                                                                                    4.1%
1002 NORTH 1750 WEST                                                      9,914
PLEASANT GROVE UT 84062
JEFF GREENE                                                                                      3.3%
135 STANLEY FARM ROAD                                                     7,800
KERNERSVILLE NC 27284


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are ActiveCare, Inc. (8125) and 4G Biometrics, LLC (5678). The Debtors’ mailing address is 1365 West
Business Park Drive, Suite 100, Orem, Utah 84058.



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ALPHA CAPITAL ANSTALT                                                    3.2%
PRADAFANT 7                                           7,652
LI-9490
VADUZ
LIECHTENSTEIN C4 99999

KENNETH JAY HERSH                                                        2.9%
13 LEGENDS LANE                                       7,000
COLUMBUS NJ 08022
MEYERS INVESTEMENTS FAMILY LP                                            2.6%
315 E 86TH ST APT 17GE, C/O BRUCE MERERS              6,109
NEW YORK, NY 10028
MARTIN GREENE                                                            2.5%
2886 WILDWOOD STREET                                  6,044
HUDSON NC 28638
DILLON HILL CAPITAL                                                      1.7%
200 BUSINESS PARK DR STE 306                          3,948
ARMONK NY 10504
GEORGE E DESHON                                                          1.2%
715 N KALAHEO AVE                                     2,850
KAILUA HI 96734
PELCO INC                                                                1.2%
4569 CYPRESS LAKE DRIVE                               2,850
LAKE CHARLES LA 70611
REGINALD SNYDER                                                          1.2%
863 WOODLEAF PARK DR                                  2,850
MABLETON, GA 30126
DARRELL MEADOR                                                           1.2%
2205 AUSTIN WATERS                                    2,806
CARROLLTON TX 75010
ARTHUR P BOLLON                                                          1.0%
RHONDA PORTERFIELD JTWROS                             2,422
13227 CEDAR LANE
DALLAS TX 75234

GEORGE ELLIS DESHON JR TRUST                                             1.0%
715 N KALAHEO AVENUE                                  2,280
KAILUA HI 96735
LIFE CENTER ORTHOPEDICS RETIREMENT                                       0.9%
3015 E MT JORDAN ROAD                                 2,250
SANDY UT 84092
MARC BRATSMAN                                                            0.9%
2687 N 1070 WEST                                      2,196
PLEASANT GROVE, UT 84062




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R C C VENTURES                                                        0.9%
11 BROADWAY                                          2,084
SUITE 500
NEW YORK NY 10004

SCHWARTZ GROUP LLC                                                    0.8%
5134 OCEANVIEW AVENUE                                2,000
BROOKLYN NY 11224
WYNNMAN S HILL LLC                                                    0.8%
539 BLACKHAWK LN                                     1,959
ALPINE UT 84004
COR CLEARING LLC                                                      0.7%
1200 LANDMARK CENTER SUITE 800                       1,677
OMAHA NE 68102-1916
CECIL MCGLOTHLEN                                                      0.7%
SALLY MCGLOTHLEN JTWRO                               1,596
2835 OTIS COURT
WHEAT RIDGE CO 80214

JAMES E SIMPSON                                                       0.6%
860 FM 2392                                          1,425
DIMMIT TX 70277
WEI ZENG                                                              0.6%
22425 SE 31ST PLACE                                  1,425
SAMMAMISH WA 98075
MARK AND NANCY PETERSON FOUNDATION                                    0.6%
539 BLACKHAWK LN                                     1,317
ALPINE UT 84004
KENITH LEWIS                                                          0.5%
22150 TWYCKINGHAM WAY                                1,270
SOUTHFIELD MI 48034
JOHN V AKSAK                                                          0.5%
CAROL S AKSAK JT WROS                                1,250
7 CRANE ROAD
LLOYN HARBOR 11743

NICHOLAS J PRIMPAS                                                    0.5%
27 LONGMEADOW DRIVE                                  1,140
ROWLEY MA 01969
THOMAS S HEEFNER                                                      0.5%
22 EAST FAIRVIEW AVENUE                              1,140
MERCERSBURG PA 17236




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EDMUND TENNENHAUS                                                      0.4%
32 SHAULSON                                          935
APARTMENT 12
JERUSALEM
ISRAEL HARNOF

CECINA LIMITED                                                         0.3%
CHANNEL HOUSE                                        817
GREEN STREET
ST HELIER
JERSEY JE2 4UH

JONATHAN LOHR                                                          0.3%
161 WESTERN HIGHWAY                                  750
SAN IGNACIO
BELIZE

KEYSTONE PARTNERS LLC                                                  0.3%
539 BLACKHAWK LN                                     738
ALPINE UT 84004
GARY GELBFISH                                                          0.3%
2502 AVENUE I                                        729
BROOKLYN, NY 11210-2830
BRYAN DALTON                                                           0.3%
1035 STATION LOOP ROAD                               685
PARK CITY UT 84098
MICHAEL ACTON                                                          0.3%
11338 PALISADE RIM DRIVE                             629
SOUTH JORDAN UT 84095-2227
PETER DERRICK                                                          0.3%
113 EAST GLOVER LANE                                 615
FARMINGTON UT 84025-2148
PRESTON GARDNER                                                        0.3%
324 EAST 600 SOUTH                                   609
CENTERVILLE UT 84014
RIMROCK CAPITAL LLC                                                    0.2%
539 BLACKHAWK LANE                                   591
ALPINE UT 84004
PETER SHERMAN                                                          0.2%
4409 MICKLETON ROAD                                  564
CHARLOTTE NC 28226
WESTMINSTER CAPITAL                                                    0.2%
9665 WILSHIRE BLVD                                   559
SUITE M-10
BEVERLY HILLS CA 90212




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RANDALL GARDNER                                                        0.2%
511 REMINGTON COURT                                  547
COLLEYVILLE TX 76034
ROBERT J WELGOS                                                        0.2%
9 RIDGE ROAD                                         540
WHARTON NJ 07885-2827
MAGNOLIA PARTNERS LLC                                                  0.2%
1588 PETAL POINT                                     534
KENNESAW GA 30152
JOSEPH ABRAMCZYK                                                       0.2%
327 SOUTH GRANDVIEW AVENUE                           505
MONSEY NY 10952
PURIZER CORPORATION                                                    0.2%
1401 NORTH 1075 WEST                                 505
SUITE 240
FARMINGTON, UT 84025-2745

RRSM PARTNERS                                                          0.2%
154 ROCK HILL ROAD                                   505
SPRING VALLEY NY 10977
ROBERTA DIAMONDSTIEN                                                   0.2%
854 A ARDMORE ROAD                                   500
MONROE TOWNSHIP NJ 08831
BELA AUSCH                                                             0.2%
52 WASHINGTON AVE                                    493
BROOKLYN NY 11205
PAUL GUILFOYLE                                                         0.2%
155 EAST 55TH STREET                                 474
SUITE 302A
NEW YORK NY 10022

SCHWARTZ GROUP LLC                                                     0.2%
5134 OCEANVIEW AVENUE                                425
BROOKLYN, NY 11224-1116
MARC NUCCITELLI                                                        0.2%
80 RODEO DRIVE                                       424
SYOSSET NY 11791
E J TEMPLE JR                                                          0.2%
PO BOX 4186                                          401
HICKORY NC 28603-4186
FALAH BFH ALHAJRAF                                                     0.2%
182-21 150TH AVENUE                                  400
KWI 1127
SPRINGFIELD GARDENS NY 11413




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JACK TEMPLE JR                                                         0.2%
700 12TH AVE NW                                      367
HICKORY NC 28601
CARL BARLAGE                                                           0.1%
2992 MILLER ROAD                                     350
RUSSIA OH 45363
JONATHAN OLSON                                                         0.1%
2955 CRESTVIEW DR                                    343
SALT LAKE CITY UT 84108
MOREY LEVOVITZ                                                         0.1%
2905 SOLAMERE DR                                     334
PARK CITY UT 84060
SCOTT KIMCHE                                                           0.1%
2053 SIDEWINDER DR                                   334
PARK CITY UT 84060
WILLIAM K MARTIN JR                                                    0.1%
2615 DUCK HOOK DRIVE                                 278
PARK CITY, UT 84060-6883
ABDULAZIZ AL ROUMI                                                     0.1%
YARMOUK BLOCK 1                                      267
STREET 3 HOUSE 3
KUWAIT 72501

ABDULAZIZ ALJARALLAH                                                   0.1%
182-21 150TH AVENUE                                  267
KWI 1127
SPRINGFIELD GARDENS NY 11413

ABDULAZIZ ALKHUBAIZI                                                   0.1%
182-21 150TH AVENUE                                  267
KWI 1127
SPRINGFIELD GARDENS NY 11413

KSN PARTNERS LLC                                                       0.1%
4640 WEST 9900 NORTH                                 267
CEDAR HILLS UT 84062
EARL HURST                                                             0.1%
1286 ALICE LANE                                      266
FARMINGTON UT 84025
LIBERTY ALLIANCE CAPITAL                                               0.1%
834 BLUE RIDGE LANE                                  251
ALPINE UT 84004
KENNETH GREENE                                                         0.1%
135 STANLEY FARM ROAD                                244
KERNERSVILLE NC 27284




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ROBERT O FLOYD                                                         0.1%
222-B HARPER AVENUE NW                               231
LENOIR NC 28645
FAWZIYAH N                                                             0.1%
182-21 150TH AVENUE                                  223
KWI 1127
SPRINGFIELD GARDENS NY 11413

VELOCITY INVESTMENTS LLC                                               0.1%
1094 SIRMINGO WAY                                    221
RIVERTON UT 84065
ROBERT NORMAN GALLUP                                                   0.1%
13278 S ASHWOOD GLEN WAY                             216
DRAPER UT 84020
WILLIAM JOHNSON                                                        0.1%
1496 MOUNTAIN CIRCLE                                 209
LENOIR NC 28646
CHRIS GRINGOLD                                                         0.1%
344 W 49TH ST                                        200
NEW YORK NY 10019
TDD MANAGEMENT LLC                                                     0.1%
61 WILLET STREET                                     200
BUILDING S
PASSAIC, NJ 07055-1971

SANDOR SCHWARTZ                                                        0.1%
5134 OCEANVIEW AVENUE                                175
BROOKLYN NY 11224
BRENNAN NICOLE GARDNER                                                 0.1%
511 REMINGTON COURT                                  150
COLLEYVILLE TX 76034
ERIN DELL MAXWELL                                                      0.1%
5000 HALLAND AVENUE                                  150
#7
DALLAS TX 75209

FOUZI AL FOUZAN                                                        0.1%
HOUSE #75 STREET #1 BLOCK #4                         150
YARMOUK
KUWAIT

JIMMY MURPHY                                                           0.1%
3375 N FM51                                          150
WEATHERFORD TX 76085




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JORDAN WHITNEY GARDNER                                                 0.1%
511 REMINGTON COURT                                  150
COLLEYVILLE TX 76034
ABDULLAH ALMAWASH AL ALMAWASH                                          0.1%
CEBECI CAD NO 22                                     134
AKATLAR MAH ETILER 34335
BESIKTAS ISTANBUL
TURKEY

RAEDAAH AL ROOMI                                                       0.1%
ALNUZHA BLOCK NO 1 MOHAMANONED                       134
ALHOMAIDHI STREET LANE NO 13
HOUSE NO 13
KUWAIT CITY 72901
KUWAIT

IRVING LANGER                                                          0.1%
5134 OCEANVIEW AVENUE                                121
SEA GATE NY 11224
AMERICAN PENSION SERVICES                                              0.0%
C/O DAN ANDERSON IRA 13977                           119
4168 WEST 12600 SOUTH
3RD FLOOR
RIVERTON UT 84065

ARLINE JOSEPHBERG                                                      0.0%
41 MILTON COURT                                      117
PORT CHESTER NY 10573
JACK TAIT                                                              0.0%
934 MOYLE CIRCLE                                     115
ALPINE UT 84004
ALMORLI ADVISORS INC                                                   0.0%
380 LEXINGTON AVENUE                                 110
SUITE 1723
NEW YORK NY 10168

TAMI MACKENZIE                                                         0.0%
11802 SUNRISE VIEW DRIVE                             110
DRAPER UT 84020
ANA CLAUDIA MEDEIROS                                                   0.0%
9000 NE 2ND AVE                                      107
MIAMI FL 33138
SHAWN ALLEN ROSS                                                       0.0%
13533 S BRIDLE GATE LANE                             102
DRAPER UT 84020




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RUSSELLENE J ANGEL                                                    0.0%
4826 COUNTRY WOODS LANE                              87
GREENSBORO NC 27410
SABEEKA AL ASOUSI                                                     0.0%
182-21 150TH AVENUE                                  83
KWI 1127
SPRINGFIELD GARDENS NY 11413

WADE TORP                                                             0.0%
1588 PETAL POINT                                     70
KENNESAW GA 30152
MICHAEL DERRICK                                                       0.0%
36 EAST 1020 NORTH                                   67
FARMINGTON UT 84025
DAN ANDERSON                                                          0.0%
4168 WEST 12600 SOUTH                                60
RIVERTON NC 84065
HESSAH AL SOUSII                                                      0.0%
182-21 150TH AVENUE                                  57
KWI 1127
SPRINGFIELD GARDENS NY 11413

LENNY YOUNCE                                                          0.0%
212 WILKESBORO BLVD SE                               50
SUITE C
LENOIR NC 28645

BRECKENRIDGE ASSOCIATES, INC                                          0.0%
445 CENTRAL AVENUE STE 366                           45
CEDARHURST NY 11516-2016
SHERM CUNNINGHAM                                                      0.0%
10 BELSITE COURT                                     40
KLEINBURG ONTARIO
CANADA L0J IC0

HASHEM AL AQEEL                                                       0.0%
2920 BOUGAINVILLEA STREET                            36
SARASOTA FL 34239
OSHER CAPITAL PARTNERS LLC                                            0.0%
5 SANS BERRY LANE                                    36
SPRING VALLEY NY 10977
FERAS AL KANDARI                                                      0.0%
182-21 150TH AVENUE                                  35
KWI 1127
SPRINGFIELD GARDENS NY 11413




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AST EXCHANGE AGENT #08972                                             0.0%
VOLU-SOL INC                                         32
6201 15TH AVENUE
BROOKLYN NY 11219

LAURIE MURPHY                                                         0.0%
507 GRANSHIRE DRIVE                                  31
CRANBERRY TOWNSHIP PA 16066
MATTHEW & JANINE HANNIBAL                                             0.0%
401 HIGHLAND AVE                                     30
SWLENOIR NC 28645
RAMONA ADAMS                                                          0.0%
1101 HIGHLAND AVENUE                                 29
METAIRIE LA 70001
MELISSA MCBURNEY                                                      0.0%
11 RUBY MOUNTAIN DRIVE                               24
REDSTONE CO 81623
W REED JENSEN REVOCABLE TRUST                                         0.0%
4348 BUTTERNUT ROAD                                  22
SALT LAKE CITY UT 84124
LIONHEART LP                                                          0.0%
3545 LAKE STREET SUITE #201                          21
WILMETTE, IL 60091-1058
CHRIS HEWITT                                                          0.0%
3103 BARTON POINT DR                                 20
AUSTIN TX 78733
SREENIVAS GADE                                                        0.0%
51 E 128TH ST APT 5B                                 20
NEW YORK NY 10035-1292
SPLENDIDO HOLDINGS LLC                                                0.0%
43 ALEXANDER AVENUE                                  17
NUTLEY, NJ 07110-1401
MIKE CLAYVIELLIE                                                      0.0%
485 NORTH 1200 WEST                                  16
SALT LAKE CITY UT 84116-2652
JACK J JOHNSON                                                        0.0%
6400 PACE FRONTAGE RD B                              15
PARK CITY UT 84098-6205
KADIMA PANAMENA INC/ CLASS A                                          0.0%
ATTN: BERNARDO ROMANOWSKY                            14
BEN MAIMON #40 APT 4
JERUSALEM
ISRAEL 92261




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WELLINGTON SHIELDS HOLDINGS LLC                                       0.0%
140 BROADWAY                                         14
NEW YORK NY 10005
JOEL D HALL                                                           0.0%
1137 ROBIN WAY                                       13
FARMINGTON UT 84025
CHRISTINE KILPACK                                                     0.0%
1365 WEST BUSINESS PARK DRIVE                        11
SUITE 100
OREM UT 84058

LING GREGORY                                                          0.0%
2275 EAST CHERRY LANE                                11
LAYTON, UT 84040-7727
ALFRED LEWIS                                                          0.0%
890 WINTER STREET                                    10
SUITE 208
WALTHAM MA 02451

CHRISTINA DOMEREGO                                                    0.0%
18 HENOHEA PLACE                                     10
KAHULUI, HI 96732-2541
CYNTHIA PALMER                                                        0.0%
700 MAIN STREET                                      10
SUITE 100
ALAMOSA CO 81101

JAMES O MASON                                                         0.0%
1616 MIRABELLA WAY                                   10
KAYSVILLE UT 84037
KATTS LLC                                                             0.0%
491 N BLUFF ST STE 206                               10
ST GEORGE UT 84770-7385
RXBENEFITS INC                                                        0.0%
3500 BLUE LAKE DRIVE SUITE 200                       10
BIRMINGHAM AL 35243
WILLIAM H NELSON                                                      0.0%
3021 EAST SHAKESSPEARE PLACE                         10
SALT LAKE CITY UT 84108
CATALYST:SF                                                           0.0%
475 SANSOME STREET                                   8
SUITE 730
SAN FRANCISCO, CA 94111-3100




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BANYAN INVESTMENT COMPANY                                              0.0%
539 BLACKHAWK LN                                      6
ALPINE UT 84004
ERIC ROBINSON ROTH 401(K)                                              0.0%
551 EAST INDIAN SPRINGS ROAD                          4
BOUNTIFUL UT 84010
NICHOLAS WILLIAM COULSON                                               0.0%
135 WILLIAM STREET                                    4
APT 7B
NEW YORK NY 10005

WESTMINSTER CAPITAL INC                                                0.0%
9665 WILSHIRE BOULEVARD                               4
SUITE M-10
BEVERLY HILLS CA 90212

ANDREW S BALL                                                          0.0%
215 NORTH 1280 EAST                                   3
SPANISH FORK UT 84660
DAVID A LEE                                                            0.0%
1126 SOUTH 1650 EAST                                  3
SPRINGVILLE UT 84663
DAVID G DERRICK                                                        0.0%
36 E 1020 NORTH                                       3
FARMINGTON, UT 84025-3705
DAVID POTTRUCK REV TRUST                                               0.0%
201 SPEAR STREET                                      3
SUITE 1150
SAN FRANCISCO, CA 94105-1662

DIRECTOR OF FINANCE STATE OF HI                                        0.0%
UNCL PROPERTY BRANCH                                  2
BOX 150
HONOLULU, HI 96810-0150

JOHN BARBER                                                            0.0%
10008 SEVILLE DRIVE                                   2
FORT WORTH, TX 76179-4089
MIKE CLAYVIELLIE                                                       0.0%
485 NORTH 1200 WEST                                   2
SALT LAKE CITY, UT 84116-2652
MIKE ROBINSON                                                          0.0%
8708 TRACE RIDGE PKWY                                 2
FT.WORTH TX 76244




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SCOTT MCGUANE                                                         0.0%
2705 SIR LANCELOT BLVD                               2
LEWISVILLE, TX 75056-5770
ADRIAN L EDWARDS TR                                                   0.0%
UA 01/01/73                                          1
ADRIAN L EDWARDS EMPLOYEE
RETIREMENT PLAN & TRUST
4932 SPUR RIDGE RD
LAS CRUCES, NM 88011-9342

ADRIAN L EDWARDS                                                      0.0%
4932 SPUR RIDGE RD                                   1
LAS CRUCES, NM 88011-9342
AKIKO FUJISAWA YUHARA TR UA 01/17/92                                  0.0%
AKIKO F YUHARA TRUST                                 1
1111 KOPKE ST
HONOLULU, HI 96819-3442

ALEJANDRO (ALEX) GUZMAN                                               0.0%
675 NORTH 340 W                                      1
OREM, UT 84057-8827
ALEKSANDR KOMAROV                                                     0.0%
7311 THRUSH HILL DRIVE                               1
WEST JORDAN, UT 84081-4109
ALYSSE VEA                                                            0.0%
946 SOUTH DENVER STREET                              1
SALT LAKE CITY, UT 84111-4318
ANDREW ZAYACH                                                         0.0%
4847 SOUTH 2120 EAST                                 1
HOLLADAY, UT 84117-5365
ANTHONY HURTY                                                         0.0%
2191 LAKELINE CIRCLE                                 1
SALT LAKE CITY, UT 84109-1423
ARTHUR MCIVOR &                                                       0.0%
TERRI MCIVOR                                         1
JT TEN
4219 ARBORWOOD LN
TAMPA, FL 33618-7539

ASHLEY CHILDERS                                                       0.0%
919 GLOS DRIVE                                       1
OXFORD, OH 45056-2025
BECCA PENROD                                                          0.0%
285 NORTH 100 WEST                                   1
SPRINGVILLE, UT 84663-1313




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BELA AUSCH                                                            0.0%
31 KEAP STREET                                       1
BROOKLYN, NY 11211-7519
BENJAMIN ELDER                                                        0.0%
673 WEST 1200 SOUTH #7                               1
OREM, UT 84058-3301
BENJAMIN KLEIN                                                        0.0%
PO BOX 355                                           1
MANCOS, CO 81328-0355
BETTY BARTON C/O LINTEL CORP                                          0.0%
196 N FOREST AVENUE                                  1
HARTWELL, GA 30643-1589
BRAEDEN KILPACK                                                       0.0%
2961 SOUTH 8750 WEST                                 1
MAGNA UT 84044
BRENDA HAUGHT &                                                       0.0%
DAVID HAUGHT JT TEN                                  1
635 TOWNSHIP RD 247
TORONTO, OH 43964-7858

BRETT HOLCOMBE                                                        0.0%
14319 SW 17TH ST                                     1
DAVIE FL 33325
BRIAN CHILDERS                                                        0.0%
8 CONGRESSIONAL WAY                                  1
HUNTINGTON WV 25705-2110
CALLIE R BOLEY                                                        0.0%
241 CLEM STREET                                      1
HUNTINGTON, WV 25705-1221
CAROLE TATRO                                                          0.0%
3353 BAY HEIGHTS DR                                  1
GREEN BAY WI 54311
CHANDLER DURRANT                                                      0.0%
375 PALAMINO WAY                                     1
GRANTSVILLE UT 84029
CHARLES HOSTENSKE & JENNFIER HOSTENSKE                                0.0%
7735 REDMAN LN                                       1
REYNOLDSBURG, OH 43068-8121
CHARLIE DUMONT                                                        0.0%
2997 TROWBRIDGE                                      1
HAMTRAMCK, MI 48212-3256




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CHELSEA KILPACK                                                       0.0%
4125 SOUTH 430 EAST #108                             1
SALT LAKE CITY, UT 84107-1750
CHERYL V REICIN 2004 TRUST                                            0.0%
9102 PITTAWATTANII DR                                1
SKOKIE, IL 60076-1912
CHRISTOPHER MARTINSON                                                 0.0%
2295 S 200 E APT 11                                  1
SALT LAKE CITY UT 84115
CLAUDIA CORRAL                                                        0.0%
850 WEST 400 SOUTH #4                                1
PROVO, UT 84601-4123
DALE & TRACY OLSON                                                    0.0%
1505 BELMONT STAKES AVENUE                           1
INDIAN TRAIL, NC 28079-5736
DANIEL T FRANCESKI                                                    0.0%
30 GLENN CIRCLE                                      1
ERDENHEIM, PA 19038-8106
DAVID SCOTT MARTIN                                                    0.0%
1790 CEDAR DRIVE                                     1
LENOIR, NC 28645-9144
DEVIN OVERLY                                                          0.0%
3145 SOUTH 700 EAST                                  1
SALT LAKE CITY, UT 84106-1657
DEVIN PARRY                                                           0.0%
5990 S 4675 W                                        1
HOOPER UT 84315-9568
EARL CARMAN &                                                         0.0%
PATRICIA CARMAN JTWROS                               1
85-07 91ST ST
WOODHAVEN, NY 11421-1405

EMANUEL CRYSTAL                                                       0.0%
BOX 23309                                            1
JACKSON, MS 39225-3309
EMILEE HIATT                                                          0.0%
520 SOUTH 1300 EAST                                  1
PLEASANT GROVE UT 84062
EMILIE MARTINSON                                                      0.0%
2877 GLENMARE STREET                                 1
SALT LAKE CITY UT 84106




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EMMY LOU BRANDT                                                       0.0%
132 MIDLAND AVENUE #4                                1
BASALT, CO 81621-8354
FEIVEL GOTTLIEB P/ADM                                                 0.0%
FEIVEL GOTTLIEB DFND BNFT                            1
PENSION PLAN
01/01/84
519 CHAUNCEY LANE
LAWRENCE, NY 11559-2807

FRANK J JAZAB CUST                                                    0.0%
MICHAEL JAZAB                                        1
UNDER THE MA UNIF TRAN MIN ACT
126 BELMONT AVE
W SPRINGFIELD, MA 01089-1976

FRED LANGLEY                                                          0.0%
2621 FIRST TN PLAZA                                  1
KNOXVILLE TN 37929
FREDDY EINSTEIN                                                       0.0%
391 RIVERBEND DR                                     1
ADVANCE, NC 27006-8523
GABRIELA (BELEN) SALSE                                                0.0%
371 EAST 450 NORTH                                   1
OREM, UT 84057-4157
GARY G PHILLIPS                                                       0.0%
A/C 245-33341                                        1
180 BOGIE MILL RD
RICHMOND, KY 40475-9750

GARY L BENGTSON                                                       0.0%
5950 COUNTY RD 50                                    1
CARVER, MN 55315-9512
GENE GOTTSCHALK                                                       0.0%
E HWY 40                                             1
BOX 688
HAYS KS 67601-0688

GILBERT R STENHOLM JR                                                 0.0%
407 KENMARE DRIVE                                    1
BURR RIDGE, IL 60527-6977
GREGORY MARTIN                                                        0.0%
1720 NORTH 728 WEST #116                             1
PROVO UT 84604




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HAROLD SIDNEY ADLER                                                   0.0%
20 BOGARDUS PLACE APT4F                              1
NEW YORK NY 10040-2369
HENRY M PUROW IRA                                                     0.0%
DELAWARE CHARTER GUARANTEE &                         1
TRUST CUST
BOX 8963
WILMINGTON, DE 19899-8963

IMMUCELL CORP                                                         0.0%
ATT MICHAEL BRIGHAM                                  1
56 EVERGREEN DR
PORTLAND, ME 04103-1066

ISRAEL A TESTILER                                                     0.0%
817 PARK AVE                                         1
ELIZABETH, NJ 07208-1331
J EDWARD BARTH                                                        0.0%
6020 RIVIERA DRIVE                                   1
OKLAHOMA CITY OK 73112
JACOB OTTESON                                                         0.0%
5095 WEST 2100 SOUTH                                 1
SALT LAKE CITY, UT 84120-1229
JAMES & BEVERLY CARTER                                                0.0%
70 ANDREA LANE                                       1
TOWNSHIP OF WASHINGTON, NJ 07676-5102
JAMES & DORIS MOONEY                                                  0.0%
1639 BROADWAY                                        1
ALAMEDA, CA 94501-3053
JAMES MALCOLM CHAPMAN                                                 0.0%
550 FAIRWAY DR STE 102                               1
DEERFIELD BEACH, FL 33441-1821
JANE BROWN &                                                          0.0%
RICHARD BROWN JT TEN                                 1
588 N LAKE RD
EAST BERLIN PA 17316

JANET K LONG TRUSTEE OF THE                                           0.0%
JANET LONG TRUST DATED SEPT 8 2008                   1
8307 MAPLEWOOD DR
LENEXA, KS 66215-2843

JARED HARVEY                                                          0.0%
380 SOUTH 200 WEST                                   1
PROVO, UT 84601-4467




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JARED QUILTER                                                         0.0%
951 NORTH 350 EAST                                   1
OREM, UT 84057-3328
JAY M BAILEY                                                          0.0%
9856 E CAROLINA PLACE UNIT F                         1
DENVER, CO 80247-7340
JEANNE Z GOLD TRUSTEE                                                 0.0%
OF THE JEANNE Z GOLD TRUST                           1
U/A DTD 2/3/1988 TRUST #1‘
4363 SHELTON DR
LA MESA CA 91941-7804

JEFF STOTT                                                            0.0%
244 WEST SUNSET                                      1
ALPINE, UT 84004-1506
JENNIFER KILE                                                         0.0%
922 W FARNHAM DRIVE                                  1
NORTH SALT LAKE UTAH 84054
JERRY K GREEN                                                         0.0%
BOX 721                                              1
OILTON OK 74052
JESSE GREGORY                                                         0.0%
2275 EAST CHERRY LANE                                1
LAYTON, UT 84040-7727
JESSIE ALBERS                                                         0.0%
101 NIDAY DRIVE                                      1
BARBOURSVILLE, WV 25504-9785
JOAN M HALE TR                                                        0.0%
JAMES A MCLEAN 2001 REV TRUST                        1
55 KENILWORTH RD
WELLESLEY, MA 02482-7415

JOE SPENCER                                                           0.0%
754 EAST 1200 NORTH                                  1
PLEASANT GROVE, UT 84062-1953
JOHN GORMAN                                                           0.0%
2215 YORK RD SUITE 203                               1
OAK BROOK, IL 60523-4002
JOHN HORSTKOETTER IRA                                                 0.0%
C/O ANDREW GARRETT                                   1
380 LEXINGTON SUITE 2135
NEW YORK, NY 10168-2192




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JOHN J MCMENAMIN                                                      0.0%
5 GUERNSEY LN                                        1
E BRUNSWICK, NJ 08816-3506
JOHN R RICE &                                                         0.0%
MARY D RICE JT TEN                                   1
2307 18TH ST
BROOKINGS SD 57006

JULIAN FALK                                                           0.0%
4195 IMPERIAL ISLE DRIVE                             1
WELLINGTON FL 33449
JULIE CHILDERS                                                        0.0%
8 CONGRESSIONAL WAY                                  1
HUNTINGTON WV 25705-2110
KADE PETERSON                                                         0.0%
112 NORTH 350 WEST #117                              1
AMERICAN FORK, UT 84003-1481
KATELYN FINK                                                          0.0%
952 WEST 965 NORTH #213                              1
OREM, UT 84057-4156
KELLI MURPHY                                                          0.0%
1494 WEST OLIVE STREET                               1
TAYLORSVILLE, UT 84123-1351
KELSEY ORGILL                                                         0.0%
610 EAST 600 NORTH #A220                             1
PROVO, UT 84606-5705
KENITH LEWIS                                                          0.0%
22150 TWYCKINGHAM WAY                                1
SOUTHFIELD, MI 48034-4709
KENTON (TROY) BAILEY                                                  0.0%
2820 WEST 680 NORTH                                  1
PROVO UT 84601
KIRK HUDDLESTON                                                       0.0%
7505 LAWFORD RD                                      1
KNOXVILLE, TN 37919-8179
KYLE ALLAIRE                                                          0.0%
1518 EAST 11840 SOUTH                                1
SANDY UT 84092
LARRY WARNER & REBECCA WARNER                                         0.0%
633 PALM VIEW DRIVE                                  1
NAPLES FL 34110




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LAURA ESHELMAN                                                        0.0%
2210 STRATFORD LN                                    1
COLORADO SPGS, CO 80909-1634
LAURIE MURPHY                                                         0.0%
507 GRANDSHIRE DRIVE                                 1
CRANBERRY TOWNSHIP, PA 16066-6929
LAWRENCE E DEAN                                                       0.0%
MARIE W DEAN JTTEN                                   1
10720 MIDDLEBORO DRIVE
DAMASCUS, MD 20872-2248

LILY B WANG & CHING-SHIUN HUANG JT TEN                                0.0%
32 DEER PATH                                         1
HILLSBOROUGH NJ 08844-3346
LINCOLN PEHRSON                                                       0.0%
1523 SOUTH 430 WEST                                  1
OREM, UT 84058-7371
LINDA A HITE                                                          0.0%
2605 SPRING HILL LANE                                1
ENOLA PA 17025-1258
LINDA P TANG                                                          0.0%
4027 KELVINGTON CT                                   1
SAN JOSE CA 95121
LINDSAY A DAVENPORT & JONATHAN R LEACH TR                             0.0%
220 NEPORT CENTER DR #11643                          1
NEWPORT BEACH CA 92660
LROY GROOMS                                                           0.0%
BOX 944                                              1
ADAIRSVILLE, GA 30103-0944
LUCAS JOHN KLEIN                                                      0.0%
PO BOX 355                                           1
MANCOS, CO 81328-0355
MARCUS FLORES                                                         0.0%
1221 SOUTH 620 WEST                                  1
OREM, UT 84058-3324
MARIE FELICIO &                                                       0.0%
ANTHONY FELICIO                                      1
30 MALDON ST
MALVERNE, NY 11565-1515

MARK S GOLDSTEIN                                                      0.0%
4800 HAMPDEN LANE                                    1
7TH FLOOR
BETHESDA, MD 20814-2930




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MARY FLUHARTY                                                         0.0%
401 VIA CARISMA                                      1
BAKERSFIELD, CA 93309-2238
MATTHEW PETTIT                                                        0.0%
375 E FENTON AVE                                     1
SALT LAKE CITY, UT 84115-4611
MAX SPIEGEL                                                           0.0%
1567 EAST 27 TH STREET                               1
BROOKLYN NY 11229
MIGUEL GUZMAN                                                         0.0%
673 WEST 1200 SOUTH #7                               1
OREM, UT 84058-3301
MILAN TYBUREC                                                         0.0%
88 BELMONT PL                                        1
STATEN ISLAND NY 10301-1711
MITCHELL CLARINE                                                      0.0%
1444 WEST 540 NORTH                                  1
PLEASANT GROVE, UT 84062-4058
NATALIE G MARGOLIS                                                    0.0%
4922 GATEWAY GARDENS DR                              1
BOYNTON BEACH FL 33436-1423
NATHAN CHILDERS                                                       0.0%
919 GLOS DRIVE                                       1
OXFORD, OH 45056-2025
NICHOLAS CHRISTENSEN                                                  0.0%
2490 EAST KENTUCKY AVENUE                            1
SALT LAKE CITY, UT 84117-5413
PATRICK BEUS                                                          0.0%
10622 SAHALEE                                        1
CEDAR HILLS, UT 84062-8508
PAUL G GUIDDY                                                         0.0%
BOX 2025                                             1
WEIRTON, WV 26062-1225
PAUL H SCHMIDT                                                        0.0%
10 HILLVIEW TER                                      1
WATERFORD, NY 12188-1810
PEGGY JEAN BRIGGS                                                     0.0%
6159 EAST RIVERDALE STREET                           1
MESA, AZ 85215-3505
PETER FORMAN                                                          0.0%
8073 SOUTH WILLOW STREAM DR                          1
SANDY, UT 84093-6411



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PETROVEN INC                                                          0.0%
5930 W PARKER RD SUITE 800                           1
PLANO, TX 75093-6420
RAYMOND WOROB                                                         0.0%
C/O CHILDERS PROPERTIES                              1
64 LINVALE ROAD
RINGOES NJ 08551

RICHARD STERLING                                                      0.0%
94 MAPLE AVE                                         1
BLASDELL, NY 14219-1651
RIENEKE ANTNIO                                                        0.0%
4130 SOUTH 2200 WEST                                 1
TAYLORSVILLE, UT 84129-5324
RIVKA TYBERG                                                          0.0%
1401 OCEAN AVENUE 12A                                1
BROOKLYN, NY 11230-3912
ROBERT B SMITH                                                        0.0%
9187 W CROSS DR 7-104                                1
LITTLETON, CO 80123-2297
ROBERT MYERS                                                          0.0%
4960 SW 28TH TER                                     1
FT LAUDERDALE, FL 33312-5806
ROGER CONNORS &                                                       0.0%
VIRGINIA CONNORS JT TEN                              1
764 WILLARD ST
NORTH BELLMORE NY 11710-1224

RONALD & CARLA GILCREST                                               0.0%
PO BOX 1307                                          1
ALAMOSA, CO 81101-1307
RONALD S GLASSNER                                                     0.0%
5731 38TH AVE                                        1
MOLINE IL 61265-8131
RONALD SHEAR                                                          0.0%
1112 PARK AVE #6A                                    1
NEW YORK NY 10128
RONALD W BUSH                                                         0.0%
908N NICKLAUS DR                                     1
NEWPORT NEWS, VA 23602-8893




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RUDOLPH B LUOMA &                                                     0.0%
MARLENE E LUOMA                                      1
JT TEN
5752 ROSE RD
HERMANTOWN, MN 55811-1213

RUTH ROGHAAR                                                          0.0%
1634 E 6520 SO                                       1
SALT LAKE CITY, UT 84121-2555
RUTHE SOKOLOWSKI EXEC                                                 0.0%
ESTATE OF HARRY T SCHAEFFER                          1
6012 S ANDES CIRCLE
AURORA, CO 80016-3836

SALVATORE ZANGHI SR                                                   0.0%
3602 RETSOF RD                                       1
RETSOF NY 14539
SAM LIPSHITZ                                                          0.0%
3942 ENFIELD AVE                                     1
SKOKIE IL 60076
SAMUEL TAYLOR                                                         0.0%
290 BRANDYWINE DR                                    1
COLORADO SPGS, CO 80906-7666
STACY ALBERS                                                          0.0%
101 NIDAY DRIVE                                      1
BARBOURSVILLE, WV 25504-9785
STEPHEN R ZAMEN                                                       0.0%
PO BOX 27846                                         1
AUSTIN, TX 78755-7846
STEVEN BERECZ IRA                                                     0.0%
C/O ANDREW GARRETT INC                               1
380 LEXINGTON AVE SUITE 2135
NEW YORK, NY 10168-2192

SUSAN KLEIN                                                           0.0%
PO BOX 355                                           1
MANCOS, CO 81328-0355
SUSANTI K CHOWDHURY & KRISTIN CHOWDHURY JT                            0.0%
TEN                                                  1
100 DRIFTWOOD LN
LARGO, FL 33770-2601
TARRA EVANS                                                           0.0%
1005 GREEN PINE BLVD F2                              1
WEST PALM BEACH, FL 33409-7014




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TAYLER MYERS                                                          0.0%
352 SOUTH 150 WEST                                   1
OREM, UT 84058-3017
TERRI KINNEY                                                          0.0%
12646 S LEGACY SPRINGS DRIVE #108                    1
RIVERTON UT 84096
TERRY BLYTHE                                                          0.0%
42269 SING ROAD                                      1
MACOMB, OK 74852-6215
THOMAS LEINENWEBER SP ADM CO                                          0.0%
ANTHONY RAKOS EST                                    1
1601 N BOND ST STE 206
NAPERVILLE IL 60563

THOMAS R HUBER &                                                      0.0%
HELEN P HUBER JT TEN                                 1
727 BALFOUR PLACE
MELVILLE NY 11747-5254

THOMAS SMITH                                                          0.0%
SHARON SMITH JTWRS                                   1
2196 SIERRA VENTURA DR
LOS ALTOS, CA 94024-7107

VADIM KOMAROV                                                         0.0%
7311 THRUSH HILL DRIVE                               1
WEST JORDAN, UT 84081-4109
WALTER H KLEINER                                                      0.0%
1725 89TH NE                                         1
CLYDE HILL, WA 98004-3213
WAYNE WOOD & ROBIN WOOD                                               0.0%
1137 SUNLIGHT DR                                     1
CHESAPEAKE, VA 23322-7121
WENDI REES                                                            0.0%
537 12TH AVENUE                                      1
SALT LAKE CITY, UT 84103-3210
WILLIAM & JOSEPHINE ALIFERAKIS                                        0.0%
15 BANK ST                                           1
CRANSTON, RI 02920-6424
WILLIAM G ZOLLER JR                                                   0.0%
3016 CEDAR CREST DR                                  1
LENOIR NC 28645-9137
WILLIAM MCCLAMROCH                                                    0.0%
2636 HOUSER RD                                       1
KNOXVILLE TN 37919




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WILMA GRESTON CUST                                                      0.0%
MICHELLE GRESTON                                     1
UNDER THE NY UNIF GIFT MIN ACT
936 THE PKWY
MAMARONECK, NY 10543-4231

WILMA GRESTON                                                           0.0%
936 THE PKWY                                         1
MAMARONECK, NY 10543-4231
WYOMING STATE TREASURER                                                 0.0%
UNCLAIMED PROPERTY DIVISION                          1
CAPITOL BUILDING
200 WEST 24TH STREET 3RD FL
CHEYENNE WY 82002


TOTAL OUTSTANDING SHARES                                 239,100        100%




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 Fill in this information to identify the case:

 Debtor name         ActiveCare, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on
                            07/15/2018                               X /s/ Mark J. Rosenblum
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark J. Rosenblum
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      ActiveCare, Inc.                                                                               Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ActiveCare, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Cede & Co
 PO Box 20
 Bowling Green Station
 New York, NY 10004-1408
 Tyumen Holdings LLC
 539 Blackhawk Lane
 Alpine, UT 84004




    None [Check if applicable]




    07/15/2018                                                       /s/ Christopher A. Ward
 Date                                                                Christopher A. Ward
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for ActiveCare, Inc.
                                                                     Polsinelli PC
                                                                     222 Delaware Avenue
                                                                     Suite 1101
                                                                     Wilmington, DE 19801
                                                                     (302) 252-0920 Fax:(302) 252-0921
                                                                     cward@polsinelli.com




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                    ACTION BY UNANIMOUS WRITTEN CONSENT
                        OF THE BOARD OF DIRECTORS OF
                               ACTIVECARE, INC.

                                      Dated: July 3, 2018


               The undersigned, being all directors (each a “Director” and collectively, the
“Directors”) of the board of directors (the “Board of Directors”) of ActiveCare, Inc.
(“ActiveCare” or the “Company”) hereby consent to the following actions and adopt the
following resolutions as of the date hereof:

              WHEREAS, the Company has reviewed and considered the financial and
operational condition of the Company’s business on the date hereof, including the historical
performance of ActiveCare, the assets of ActiveCare, the current and long-term liabilities of
ActiveCare, and the market for ActiveCare products and services; and

                WHEREAS, the Company has received, reviewed, and considered the
recommendations of the Board of Directors and ActiveCare’s legal, financial, and other advisors
as to the relative risks and benefits of pursuing a bankruptcy proceeding under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), as well as other non-
bankruptcy alternatives; and

                 WHEREAS, on June 18, 2018 the Board of Directors resolved among other
things that it is desirable and in the best interests of the Company and its creditors, employees,
and other interested parties that a petition be filed by the Company (the “June 18th
Resolutions”) seeking an order for relief under the provisions of chapter 11 of the Bankruptcy
Code (the “Chapter 11 Case”); and

                WHEREAS, since the June 18th Resolutions and to supplement such June 18th
Resolutions, the Company’s Board of Directors, management and advisors have determined that
the best and most economical path for the Company to file a Chapter 11 Case is to create a lean
structure and team to accomplish the Chapter 11 Case.

         NOW, THEREFORE, IT IS:

                RESOLVED FURTHER, that the Chief Executive Officer, and such other
officers as may be designated by the Chief Executive Officer (collectively, the “Authorized
Officers”), acting alone or with one or more other Authorized Officers, be, and hereby is,
authorized and empowered to execute and file on behalf of the Company all petitions, schedules,
lists, and other papers or documents, and to take any and all action that they deem necessary or
proper to obtain such relief;

              RESOLVED FURTHER, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and directed to employ
the law firm of Polsinelli PC as counsel to represent and assist the Company in carrying out its


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duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations, including filing any pleadings; and in connection therewith, each of the
Authorized Officers, acting alone or with one or more other Authorized Officers, be, and hereby
is, authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon filing of the Chapter 11 Case, and to cause to be filed an
appropriate application for authority to retain the services of Polsinelli PC;

                RESOLVED FURTHER, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and directed to Locke
Lord LLP as Special Corporate Counsel to represent and assist the Company in carrying out its
duties under asset purchase agreement, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Authorized Officers, acting alone
or with one or more other Authorized Officers, be, and hereby is, authorized and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed appropriate applications for
authority to retain the services of Locke Lord LLP.

                RESOLVED FURTHER, that each of the Authorized Officers, acting alone or
with one or more other Authorized Officers, be, and hereby is, authorized and empowered for, in
the name of and on behalf of the Company to take or cause to be taken any and all such other and
further action, and to execute, acknowledge, deliver, and file any and all such instruments as
each, in his or her discretion, may deem necessary or advisable in order to carry out the purpose
and intent of the foregoing resolutions;

               RESOLVED FURTHER, that all of the acts and transactions taken by the
Authorized Officers or Board of Directors, in the name and on behalf of the Company, relating to
matters contemplated by the foregoing resolutions, which acts would have been approved by the
foregoing resolutions except that such acts were taken prior to the execution of these resolutions,
are hereby in all respects confirmed, approved and ratified; and

              RESOLVED FURTHER, that this written consent may be executed in any
number of counterparts and by facsimile, portable document format, or other reproduction, and
such execution shall be considered valid, binding, and effective for all purposes.




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       IN WITNESS WHEREOF, the undersigned, being all Directors of the Board of
Directors of ActiveCare, Inc., have executed this written consent as of the date first written
above.


                                                  /s/ Isaac Onn
                                                  Isaac Onn



                                                  /s/ Jeffrey Peterson
                                                  Jeffrey Peterson



                                                  /s/ Mark Rosenblum
                                                  Mark Rosenblum




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